      Case 8:18-bk-13638-ES      Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42         Desc
                                  Main Document    Page 1 of 14
                             UNITED STATES DEPARTMENT OF JUSTICE
                              OFFICE OF THE UNITED STATES TRUSTEE
                                CENTRAL DISTRICT OF CALIFORNIA

                                                     Case No. 8:18-bk-13638-ES
In re: FRIENDLY VILLAGE MHP,
      ASSOCIATES, L.P.,                              CHAPTER 7
                                                     Trustee: Richard Marshack
                                                     Operating Report Number: 7
                                    Debtor(s).       For the Month Ending: 4/30/19
                                                     District Office: Santa Ana


                        CHAPTER 7 TRUSTEE MONTHLY OPERATING REPORT
                              PURSUANT TO 11 U.S.C. § 704(a)(8)

1.              Date of Order(s) to Operate                                    Duration
     11/26/18                                                Through 6/28/19




2.   Current Bond Amount:
      blanket bond - $15,700,000

3.   Nature of Business and reason for operation:
      Collecting rents from 182-unit, 18-acre, mobile home park in Long Beach



4.   Current efforts to market estate property subject to operation (if applicable):
      Trustee must continue operating the mobile home park pending a determination regarding
      whether the Property can be sold as a going-concern. The Trustee has already met with multiple
      potential buyers for the Property.
5.   Estimated length of operation:
      Through 6/28/19

6.   Do revenues exceed expenses during the reporting period (including projected Chapter 7
     administrative expenses?)    YES ‫܆‬   x          NO ‫܆‬

     If no, provide explanation as to why business/property is being operated:



                                                 1
        Case 8:18-bk-13638-ES         Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42           Desc
                                       Main Document    Page 2 of 14
7.      Is insurance adequate, current and cover the loss of all assets? YES ‫ ܆‬NO ‫ ܆‬N/A ‫܆‬
                                                                                    ■




                                                                                           Amount and
       Type of                                  Amount of          Policy Expiration
                          Carrier/Agent                                                    Date of Last
      Coverage                                  Coverage                 Date
                                                                                            Premium
     Environmental            Aspen             $10,000,000            02/04/2024       paid in full pre-petition
     Comm Property            Axis              $50,000,000            06/30/2019       paid in full pre-petition




8.      Other significant activities affecting operation:




9.      Summary of Current Financial Conditions

        Previous cash balance on all accounts:
                                                    $541,494.79

        Current cash balance on all accounts at end period:
                                                                   $525,126.60



Type of Account             Depository                    Ending Balance       Monthly Disbursement
       Checking 5961           Texas Capital Bank              27,415.88                136,275.27
       Operating 5979          Texas Capital Bank             486,487.72                111,133.33
      Rent Deposit 7740               US Bank                  11,223.00                    0.00




10.     Receipts and Disbursements

        Total receipts during current period:
                                                    $231,040.41

        Source of receipts:
                               Rents

                                                      2
         Case 8:18-bk-13638-ES   Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42      Desc
                                  Main Document    Page 3 of 14
11.     Specific Disbursements Relating to Operation for Current Period:


         Date          Check Number           Payee             Purpose            Amount
      see attached




12.     Are tax obligations current?    YES   ‫܆‬            NO    ‫܆‬

        If no, provide an explanation as to which tax obligations are not current and why.
         Unknown at this time




13.     Did the estate employ any employees during the reporting period? YES ‫ ܆‬NO ‫܆‬       x
        If yes, state the number of employees and specify whether the estate is current on payroll
        obligations. If the estate is NOT current on its payroll obligations, provide an
        explanation.




14.     Additional Information attached in support of report?    YES    x
                                                                        ‫܆‬           NO       ‫܆‬



I, Richard Marshack      , declare under penalty of perjury that I have fully read and
understand the foregoing Chapter 7 Monthly Operating Report and that the information
contained here is true and complete to the best of my knowledge.



DATED: 5/7/19                                         /s/ Richard A. Marshack
                                                      ____________________________________




                                                  3
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                                                      CASH RECEIPTS          Page 4 RECORD
                                                                    AND DISBURSEMENTS of 14

                  Case No: 18-13638                                                              Trustee Name: Richard A. Marshack (TR)
               Case Name: Friendly Village MHP Associates LP                                       Bank Name: Texas Capital Bank
                                                                                          Account Number/CD#: ******5961 Checking Account
           Taxpayer ID No: **-***0971                                             Blanket bond (per case limit): 5,000,000.00
         For Period Ending: 4/30/2019                                             Separate bond (if applicable): 0.00

    1             2                     3                             4                                       5                   6               7
                                                                                          Uniform
Transaction    Check or                                                                    Trans.                                             Account/ CD
   Date        [Refer#]     Paid To / Received From       Description of Transaction       Code         Deposits($)     Disbursements($)       Balance($)
                                                               Balance Forward                                                                   36,691.15

04/01/2019                 Friendly Village MHP          From #####5979 To #####5961      9999-000         127,000.00                           163,691.15
                           Associates LP                 transfer

04/01/2019      51008      Marshack Hays LLP             Fee Statement #2                 3110-000                              123,638.63       40,052.52
                           870 Roosevelt                 75%; thru 2/28/19'
                           Irvine ,CA 92620              per order 12/3/18


04/01/2019      51009      Marshack Hays LLP             Fee Statement #2 thru 2/28/19    3120-000                                2,636.64       37,415.88
                           870 Roosevelt                 per order 12/3/18
                           Irvine ,CA 92620

04/03/2019      51010      Force 10 Partners             Reimburse payment to             3732-000                               10,000.00       27,415.88
                           20341 SW Birch Street,        Geosyntec per order 4/3/19
                           Suite 220
                           Newport Beach,CA 92660

                                                                                       Page Subtotals      127,000.00           136,275.27


                                                           COLUMN TOTALS                                     671,190.18         643,774.30
                                                                   Less: Bank Transfer/CD's                  337,000.00         260,000.00
                                                           SUBTOTALS                                         334,190.18         383,774.30

                                                                 Less: Payments to Debtors                                            0.00
                                                           Net                                               334,190.18         383,774.30
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                                                     CASH RECEIPTS          Page 5 RECORD
                                                                   AND DISBURSEMENTS of 14

                  Case No: 18-13638                                                              Trustee Name: Richard A. Marshack (TR)
               Case Name: Friendly Village MHP Associates LP                                       Bank Name: Texas Capital Bank
                                                                                          Account Number/CD#: ******5979 Operating Account
           Taxpayer ID No: **-***0971                                              Blanket bond (per case limit): 5,000,000.00
         For Period Ending: 4/30/2019                                              Separate bond (if applicable): 0.00

    1             2                     3                                4                                     5                   6                 7
                                                                                          Uniform
Transaction    Check or                                                                    Trans.                                                Account/ CD
   Date        [Refer#]     Paid To / Received From       Description of Transaction       Code          Deposits($)       Disbursements($)       Balance($)
                                                               Balance Forward                                                                     469,621.05

04/01/2019                 Friendly Village MHP          From #####5979 To #####5961      9999-000                               127,000.00        342,621.05
                           Associates LP                 transfer

04/05/2019      52148      Best Pool Service             October/November invoices        2690-000                                     895.75      341,725.30
                           1612 S. Lyon St               10011784, 10012008
                           Santa Ana,CA 92705

04/05/2019      52149      City of Long Beach            Account # 4436497548;            2690-000                                24,063.51        317,661.79
                           Utility Customer Service      Water/Gas/Sewer
                           333 West Ocean Blvd           LP Friendly Village MHP
                                                         Associates, 5400 Paramount
                           Long Beach,CA 90802-4664
                                                         Blvd
                                                         2/27/19 to 3/28/19

04/05/2019      52150      5 Star Sweeping               Invoice 14455                    2690-000                                     390.00      317,271.79
                           2950 Saturn St, Suite K       April 2019
                           Brea,CA 92821

04/05/2019      52151      Northstar Environmental       Invoice 5801; Project 201-069-   2690-000                                14,389.49        302,882.30
                           Remediation                   03
                           KRT Mgt/Northstar
                           26225 Enterprise Court
                           Lake Forest ,CA 92630

04/05/2019      52152      Aptexx Inc                   Invoice 25938 - tenant NSF fees   2690-000                                      50.00      302,832.30
                           11121 Kingston Pike, Suite E Resident Anywhere services
                           Knoxville,TN 37934

04/05/2019      52153      LA Pool Guys                  Invoice 1516                     2690-000                                     450.00      302,382.30
                           PO Box 50224                  Pool service 3/1/19
                           Long Beach,CA 90815

04/05/2019      52154      LA Pool Guys                  Invoice 1749                     2690-000                                     450.00      301,932.30
                           PO Box 50224                  Pool service 4/1/19
                           Long Beach,CA 90815

04/05/2019      52155      Charter Communications    Spectrum Business; Acct 8245-        2690-000                                     138.85      301,793.45
                           PO Box 60229              10-040-7103288
                           Los Angeles,CA 90060-0229 3/30-4/29/10

04/05/2019      52156      Investors' Property Services Invoice 5635                      3992-470                                     145.00      301,648.45
                           26020 Acero, Ste 200         Unit #18 maintenance
                           Mission Viejo,CA 92691

04/05/2019      52157      Investors' Property Services Management fee; invoice           3991-460                                 8,945.72        292,702.73
                           26020 Acero, Ste 200         241513
                           Mission Viejo,CA 92691       January 2019


                                                                                       Page Subtotals               0.00         176,918.32
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                                                      CASH RECEIPTS          Page 6 RECORD
                                                                    AND DISBURSEMENTS of 14

                  Case No: 18-13638                                                                Trustee Name: Richard A. Marshack (TR)
               Case Name: Friendly Village MHP Associates LP                                         Bank Name: Texas Capital Bank
                                                                                            Account Number/CD#: ******5979 Operating Account
           Taxpayer ID No: **-***0971                                               Blanket bond (per case limit): 5,000,000.00
         For Period Ending: 4/30/2019                                               Separate bond (if applicable): 0.00

    1             2                     3                              4                                        5                  6                 7
                                                                                            Uniform
Transaction    Check or                                                                      Trans.                                              Account/ CD
   Date        [Refer#]     Paid To / Received From       Description of Transaction         Code         Deposits($)     Disbursements($)        Balance($)
04/05/2019      52158      Investors' Property Services Invoice 241537; Payroll 2/1 to      3992-470                              4,092.64         288,610.09
                           26020 Acero, Ste 200         2/15/19
                           Mission Viejo,CA 92691

04/05/2019      52159      Investors' Property Services Invoice 241590                      3992-470                                   315.00      288,295.09
                           26020 Acero, Ste 200         Title searches
                           Mission Viejo,CA 92691

04/05/2019      52160      Investors' Property Services Invoice 241591                      3992-470                              1,015.84         287,279.25
                           26020 Acero, Ste 200         reimburse recliner chairs
                           Mission Viejo,CA 92691

04/05/2019      52161      Investors' Property Services Invoice 241643                      2690-000                                   275.36      287,003.89
                           26020 Acero, Ste 200         reimburse Charter/Spectrum
                           Mission Viejo,CA 92691       3/1 to 3/29/19


04/05/2019      52162      Investors' Property Services Invoice 241694; Payroll 3/1 to      3992-470                              3,966.17         283,037.72
                           26020 Acero, Ste 200         3/15
                           Mission Viejo,CA 92691

04/05/2019      52163      Investors' Property Services Invoice 241712; reimburse           3992-470                                    36.76      283,000.96
                           26020 Acero, Ste 200         fedex 2/7 and 2/21
                           Mission Viejo,CA 92691

04/05/2019      52164      AT&T                           Account #139906579                2690-000                                   153.50      282,847.46
                                                          Internet service
                                                          past due $59.25 and current
                                                          $94.25 - 2/25 to 3/24/19
                                                          MAILING ADDR - PO Box
                                                          537104, Atlanta, GA 30353

04/10/2019       [12]      Friendly Village MHP           Transfer from US Bank Rent        1222-000         255,000.00                            537,847.46
                           Operating Account              Deposit Account 7740

04/17/2019      52165      Norwalk La Mirada              Invoice 289242ALEX                2690-000                                   125.00      537,722.46
                           Plumbing Heating Co., Inc.     Unit #20
                           11661 Firestone Blvd
                           Norwalk,CA 90650

04/17/2019      52166      Unified Protective Services, Invoice 58156, 4/1/19               2690-000                              5,425.00         532,297.46
                           Inc.                         March security services
                           PO Box 1557
                           Hawthorne,CA 90251

04/17/2019      52167      Investors' Property Services Invoice 241606; Payroll 2/16 to     3992-470                              3,854.77         528,442.69
                           26020 Acero, Ste 200         2/28/19
                           Mission Viejo,CA 92691

04/17/2019      52168      Investors' Property Services Management fee; invoice             3991-460                              9,562.41         518,880.28
                           26020 Acero, Ste 200         241672
                           Mission Viejo,CA 92691       February 2019


                                                                                         Page Subtotals      255,000.00           28,822.45
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                                                      CASH RECEIPTS          Page 7 RECORD
                                                                    AND DISBURSEMENTS of 14

                  Case No: 18-13638                                                                 Trustee Name: Richard A. Marshack (TR)
               Case Name: Friendly Village MHP Associates LP                                          Bank Name: Texas Capital Bank
                                                                                             Account Number/CD#: ******5979 Operating Account
           Taxpayer ID No: **-***0971                                                Blanket bond (per case limit): 5,000,000.00
         For Period Ending: 4/30/2019                                                Separate bond (if applicable): 0.00

    1             2                     3                               4                                        5                   6                 7
                                                                                             Uniform
Transaction    Check or                                                                       Trans.                                               Account/ CD
   Date        [Refer#]     Paid To / Received From       Description of Transaction          Code         Deposits($)       Disbursements($)       Balance($)
04/19/2019      52169      HCD MHP                  Amended PTO fee                          2690-000                                     10.00      518,870.28
                           PO Box 278180            Park ID 19-1397-MP
                           Sacramento,CA 95827-8180 CA Housing & Community
                                                          Development

04/30/2019      52170      Northstar Environmental        Invoice 5845; Project 201-069-     2690-000                               3,295.18         515,575.10
                           Remediation                    10
                           KRT Mgt/Northstar              Sewer line inspections and
                                                          planning for repairs at Unit 20
                           26225 Enterprise Court
                           Lake Forest ,CA 92630

04/30/2019      52171      Northstar Environmental        Invoice 5846; Project 201-069-     2690-000                               8,613.66         506,961.44
                           Remediation                    11
                           KRT Mgt/Northstar              Sewer line repairs at Unit 20
                           26225 Enterprise Court
                           Lake Forest ,CA 92630

04/30/2019      52172      Northstar Environmental        Invoice 5847; Project 201-069      2690-000                               4,761.08         502,200.36
                           Remediation                    Fixed gas sensor installation
                           KRT Mgt/Northstar              reports, waste profiling, and
                                                          out-of-scope work
                           26225 Enterprise Court
                           Lake Forest ,CA 92630

04/30/2019      52173      Investors' Property Services Invoice 241781; Reimburse            2690-000                                    402.60      501,797.76
                           26020 Acero, Ste 200         petty cash
                           Mission Viejo,CA 92691

04/30/2019      52174      Investors' Property Services Invoice 241796; Payroll 4/1 to       3992-470                               3,996.46         497,801.30
                           26020 Acero, Ste 200         4/15/19
                           Mission Viejo,CA 92691

04/30/2019      52175      Investors' Property Services Management fee; invoice              3991-460                               9,417.88         488,383.42
                           26020 Acero, Ste 200         241830
                           Mission Viejo,CA 92691       March 2019


04/30/2019      52176      Investors' Property Services Invoices 241853, 241854,             2690-000                               1,895.70         486,487.72
                           26020 Acero, Ste 200         241857; Reimburse Fedex,
                           Mission Viejo,CA 92691       Home Depot, Amex



                                                                                          Page Subtotals              0.00          32,392.56


                                                           COLUMN TOTALS                                      1,517,714.32      1,031,226.60
                                                                     Less: Bank Transfer/CD's                   260,000.00         337,000.00
                                                           SUBTOTALS                                          1,257,714.32         694,226.60

                                                                  Less: Payments to Debtors                                                0.00
                                                           Net                                                1,257,714.32         694,226.60
              Case 8:18-bk-13638-ES               Doc 154 Filed       05/07/19
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                                                     CASH RECEIPTS          Page 8 RECORD
                                                                   AND DISBURSEMENTS of 14

                  Case No: 18-13638                                                           Trustee Name: Richard A. Marshack (TR)
               Case Name: Friendly Village MHP Associates LP                                    Bank Name: Texas Capital Bank
                                                                                       Account Number/CD#: ******5979 Operating Account
           Taxpayer ID No: **-***0971                                            Blanket bond (per case limit): 5,000,000.00
         For Period Ending: 4/30/2019                                            Separate bond (if applicable): 0.00

    1             2                     3                             4                                      5                   6               7
                                                                                        Uniform
Transaction    Check or                                                                  Trans.                                              Account/ CD
   Date        [Refer#]     Paid To / Received From       Description of Transaction     Code          Deposits($)     Disbursements($)       Balance($)
                                                               TOTAL-ALL ACCOUNTS                          NET                NET             ACCOUNT
                                                                                                        DEPOSITS        DISBURSEMENT          BALANCE
        All Accounts Gross Receipts:          1,591,904.50
                                                               ******5961 Checking Account                 334,190.18          383,774.30
 All Accounts Gross Disbursements:            1,078,000.90
                  All Accounts Net:             513,903.60     ******5979 Operating Account              1,257,714.32          694,226.60

                                                               NetTotals                                 1,591,904.50      1,078,000.90        513,903.60
                                                                                                            Business Statement
                   Case 8:18-bk-13638-ES                          Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42 Account
                                                                                                                   Desc Number:
                      P.O. Box 1800                                Main Document    Page 9 of 14                           7740
                      Saint Paul, Minnesota 55101-0800                                                                                                  Statement Period:
                      8823        TRN                      6480 S                  Y       ST01                                                               Apr 1, 2019
                                                                                                                                                                  through
                                                                                                                                                             Apr 30, 2019
                                                                                                               1010101010101010101010
                                                                                                               1011100011010100010111
                                                                                                               1010001000001001001110
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                       000044499 01 SP     000638057628365 S
                       FRIENDLY VILLAGE MHP ASSOCIATES LP
                       R & K INTERESTS INC
                                                                                                          %                                         To Contact U.S. Bank
                       DBA INVESTORS PROPERTY SERVICES AS AGENT                                           Commercial Customer
                       OPERATING TRUST ACCOUNT                                                            Service:                                        1-800-400-4886
                       26020 ACERO STE 200
                       MISSION VIEJO CA 92691-6722
                                                                                                          U.S. Bank accepts Relay Calls
                                                                                                          Internet:                                          usbank.com




ANALYZED CHECKING                                                                                                                                        Member FDIC
U.S. Bank National Association                                                                                                          Account Number             -7740
Account Summary
                                        # Items
Beginning Balance on Apr 1                             $                  35,182.59
Other Deposits                              13                           232,592.87
Other Withdrawals                           1                              1,552.46-
Checks Paid                                 1                            255,000.00-
        Ending Balance on Apr 30, 2019 $                                   11,223.00

Other Deposits
Date   Description of Transaction                                                                                    Ref Number                                Amount
Apr 5 Electronic Deposit                                    From Friendly Village                                                               $            55,042.33
          REF=190950071100770N00                               9000456377Settlement000005748056809
Apr 8 Electronic Deposit                                    From Friendly Village                                                                            31,505.77
          REF=190980055876460N00                               9000456377Settlement000005754959313
Apr 8 Electronic Deposit                                    From Friendly Village                                                                            44,711.71
          REF=190980055876470N00                               9000456377Settlement000005758006317
Apr 9 Electronic Deposit                                    From Friendly Village                                                                            15,155.18
          REF=190990073207770N00                               9000456377Settlement000005766521961
Apr 10 Electronic Deposit                                   From Friendly Village                                                                            26,481.46
          REF=191000057176930N00                               9000456377Settlement000005774249885
Apr 10 Electronic Deposit                                   From Friendly Village                                                                            51,621.28
          REF=191000057176920N00                               9000456377Settlement000005773732909
Apr 11 Electronic Deposit                                   From Friendly Village                                                                               496.15
          REF=191010054286690N00                               9000456377Settlement000005781475325
Apr 16 Electronic Deposit                                   From Friendly Village                                                                              1,248.77
          REF=191060047254390N00                               9000456377Settlement000005800722701
Apr 16 Electronic Deposit                                   From Friendly Village                                                                              1,450.00
          REF=191060047254400N00                               9000456377Settlement000005802392333
Apr 17 Electronic Deposit                                   From Friendly Village                                                                              1,577.46
          REF=191070041463860N00                               9000456377Settlement000005806254613
Apr 23 Electronic Deposit                                   From Friendly Village                                                                              1,411.00
          REF=191130010794120N00                               9000456377Settlement000005827928025
Apr 25 Electronic Deposit                                   From Friendly Village                                                                              1,391.76
          REF=191150088202160N00                               9000456377Settlement000005839412941
Apr 30 Electronic Deposit                                   From Friendly Village                                                                               500.00
          REF=191200098882290N00                               9000456377Settlement000005858700125
                                                                                                      Total Other Deposits                      $           232,592.87

Other Withdrawals
Date   Description of Transaction                                                                                    Ref Number                                 Amount
Apr 16 Electronic Withdrawal                                From Friendly Village                                                               $             1,552.46-
          REF=191060047253920N00                               9000456377Return             000005798529505
                                                                                                   Total Other Withdrawals                      $             1,552.46-
                                                                         BALANCE YOUR ACCOUNT
                    Case 8:18-bk-13638-ES                          DocTo keep track
                                                                        154         of all your
                                                                                  Filed         transactions,Entered
                                                                                           05/07/19            you should 05/07/19
                                                                                                                          balance your account
                                                                                                                                       16:53:42every month.
                                                                                                                                                       Desc Please
                                                                      examine this statement immediately. We will assume that the balance and transactions shown are
                                                                    Main   Document
                                                                      correct unless you notify usPage      10 of 14
                                                                                                    of an error.

Outstanding Deposits
DATE                          AMOUNT                                     1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
                                                                            the left. Record the total.
                                                                         2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
                                                                            and automatic payments that appear on your statement. Withdrawals that are NOT checked off
TOTAL                         $                                             should be recorded in the Outstanding Withdrawals section at the left. Record the total.
                                                                         3. Enter the ending balance shown on this statement.                                              $_____________
Outstanding Withdrawals
DATE                          AMOUNT                                     4. Enter the total deposits recorded in the Outstanding Deposits section.                         $_____________
                                                                         5. Total lines 3 and 4.                                                                           $_____________
                                                                         6. Enter the total withdrawals recorded in the Outstanding Withdrawals section.                   $_____________
                                                                         7. Subtract line 6 from line 5. This is your balance.                                             $_____________
                                                                         8. Enter in your register and subtract from your register balance any checks, withdrawals or other
                                                                            debits (including fees, if any) that appear on your statement but have not been recorded in your
                                                                            register.
                                                                         9. Enter in your register and add to your register balance any deposits or other credits (including
                                                                            interest, if any) that appear in your statement but have not been recorded in your register.
                                                                         10. The balance in your register should be the same as the balance shown in #7. If it does not
                                                                             match, review and check all figures used, and check the addition and subtraction in your register.
                                                                             If necessary, review and balance your statement from the previous month.
TOTAL                         $

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WS5D, 60 Livingston
Ave., St. Paul, MN 55107.
· Tell us your name and account number.
· Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
· Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account.
    *Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.
IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number
listed on the front of this statement immediately.
CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE
What To Do If You Think You Find A Mistake on Your Statement
If you think there is an error on your statement, write to us at:
U.S. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.
In your letter, give us the following information:
· Account information: Your name and account number.
· Dollar Amount: The dollar amount of the suspected error.
· Description of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us within 60 days after the error appeared on your statement.
You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.
While we investigate whether or not there has been an error, the following are true:
· We cannot try to collect the amount in question, or report you as delinquent on that amount.
· The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
   pay the amount in question or any interest or other fees related to that amount.
· While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
· We can apply any unpaid amount against your credit limit.
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing
days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The ***INTEREST
CHARGE*** begins from the date of each advance.
REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.
CONSUMER REPORT DISPUTES
We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
may prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:
your name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,
affidavit of identity theft), if applicable.




Member FDIC
                                            FRIENDLY VILLAGE MHP ASSOCIATES LP                                   Business Statement
                   Case                     R & K Doc
                             8:18-bk-13638-ES     INTERESTS
                                                       154 INCFiled 05/07/19 Entered                  05/07/19 16:53:42 Account
                                                                                                                        Desc Number:
                                            DBA INVESTORS PROPERTY SERVICES AS AGENT
                                                    MainTRUST
                                            OPERATING     Document
                                                              ACCOUNT   Page 11 of 14                                              1           7740
                                            26020 ACERO STE 200
                                            MISSION VIEJO CA 92691-6722                                                         Statement Period:
                                                                                                                                      Apr 1, 2019
                                                                                                                                          through
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                                                                                                                                     Apr 30, 2019
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ANALYZED CHECKING                                                                                                             (CONTINUED)
U.S. Bank National Association                                                                                    Account Number             8-7740
Checks Presented Conventionally
Check               Date         Ref Number               Amount
1005                Apr 15       8059007458            255,000.00
                                                                         Conventional Checks Paid (1)                     $            255,000.00-

Balance Summary
Date                         Ending Balance   Date                  Ending Balance      Date                             Ending Balance
Apr 5                            90,224.92    Apr 11                   260,196.47       Apr 23                                9,331.24
Apr 8                           166,442.40    Apr 15                     5,196.47       Apr 25                               10,723.00
Apr 9                           181,597.58    Apr 16                     6,342.78       Apr 30                               11,223.00
Apr 10                          259,700.32    Apr 17                     7,920.24
    Balances only appear for days reflecting change.
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        Case 8:18-bk-13638-ES                     Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S MONTHLY OPERATNG
REPORT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 7,
2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On May 7, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR
FRIENDLY VILLAGE MHP ASSOCIATES LP
320 NORTH PARK VISTA STREET
ATTENTION : OFFICE
ANAHEIM, CA 92806-3722
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 7, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

COURTESY COPIES VIA EMAIL
Robert Warren - Investors’ Property Services - Robert.warren@investorshq.com
Karl T. Anderson CPA, Inc. - ktacpa@msn.com
Adam Meislik – Force 10 Partners – ameislik@force10partners.com

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  May 7, 2019               Pamela Kraus                                                         /s/ Pamela Kraus
  Date                       Printed Name                                                        Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012
                                                                                                    F 9013-3.1.PROOF.SERVICE
        Case 8:18-bk-13638-ES                     Doc 154 Filed 05/07/19 Entered 05/07/19 16:53:42                                      Desc
                                                   Main Document    Page 14 of 14

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:

       Howard Camhi hcamhi@ecjlaw.com, tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com
       Ben G Gage bgage@cookseylaw.com, sith@ecf.courtdrive.com
       D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
       Jeffrey S Kaufman JSKaufman@wolfewyman.com, hlforeman@wolfewyman.com,kabeall@wolfewyman.com
       Paul J Laurin plaurin@btlaw.com, slmoore@btlaw.com;jboustani@btlaw.com
       Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
       Kristine A Thagard kthagard@marshackhays.com, 8649808420@filings.docketbird.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       David Wood dwood@marshackhays.com, 8649808420@filings.docketbird.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012
                                                                                                    F 9013-3.1.PROOF.SERVICE
